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          Case 2:19-mj-04977-DUTY Document 4 Filed 12/11/19 Page 1 of 4 Page ID #:106
        Case 2:19-mj-04977-DUTY *SEALED* Document 2-1 *SEALED* Filed 11/22/19 Page 1 of 12
                                          Page ID #:59
AO 93 (Rev. 11/13) Search and Seizure Warrant (USAO CDCA Rev. 04/17)



                                             UNITED STATES DISTRICT COURT
                                                                              for the
                                                                 Central District of California

                            In the Matter of the Search of                              AMENDED to reflect corrected address
                  (Briefly describe the property to be searched or Wen* the
                                 person by name and address)                            Case No. 2:19-MJ-04977
             18409 Orange Street, Hesperia, California 92345
            ("SUBJECT PREMISES")




                                                    SEARCH AND SEIZURE WARRANT
To:         Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identifr the person or describe the property lobe searched
and give its location):


        See Attachment A-1

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identifi, the person or describe the property to be seized):

        See Attachment B

        Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

            YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not to exceed 14 days)
             in the daytime 6:00 am. to 10:00 p.m.              0     at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office.
        0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
        0 for             days (not to exceed 30)    0 until, the facts justifying, the later specific date of


Date and time issued:                ll--22.-2•019 1210r
City and state:                 Los Angeles, CA                                              Hon. Alka Sagar, U.S. Magistrate Judge
                                                                                                           Printed name and title

AUSA: Billy Joe McLain x6702
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        Case 2:19-mj-04977-DUTY *SEALED Document 2-1 *SEALED* Filed 11/22/19 Page 2 of 12
                                         Page ID #:60
AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

                                                                   Return
Case No.: 2:19-mj-04977                  Date and time warrant executed:           Copy of warrant and inventory left with:
                                              December 3, 2019 at 6:00am                  Julio Moreno
Inventory made in the presence of:
     SA Shawn Riley
Inventory of the property taken and name of any person(s) seized:



    Please see attached DEA 12s- Receipt for cash or other items seized.




                                i


                                                                 Certification ,


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:       December 11, 2019
                                                                                          Executing officer's signature

                                                                           SA Rosemary Ramirez
                                                                                             Printed name and title
          Case 2:19-mj-04977-DUTY Document 4 Filed 12/11/19 Page 3 of 4 Page ID #:108


                                           U.S. DEPARTMENT OF JUSTICE - DRUG ENFORCEMENT ADMINISTRATION
                                              RECEIPT FOR CASH OR OTHER ITEMS
                                                                                              FILE NO.                          G-DEP IDENTIFIER
TO: (Name, Title, Address (including ZIP CODE), if applicable)
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     %AUL °             C) eel P                                                               FILE TITLE




                                                                                               DATE it/ 31,7,019


DIVISION/DISTRICT OFFICE
          Seel) / P/91C)




                                            I hereby acknowledge receipt of the following described cash or other item(s),
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                                                       — --- ---     custody .
                                                                             by the above named individual.
                                                       DESCRIPTION OF ITEM(S)                                                PURPOSE (If Applicable)
    AMOUNT or QUANTITY

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            Case 2:19-mj-04977-DUTY Document 4 Filed 12/11/19 Page 4 of 4 Page ID #:109


                                        U.S. DEPARTMENT OF JUSTICE - DRUG ENFORCEMENT ADMINISTRATION
                                            RECEIPT FOR CASH OR OTHER ITEMS
TO: (Name, Title, Address (including ZIP CODE), if applicable)                             FILE 0.                           G-DEP IDENTIFIER
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                   Orki-t-tb                                                               FILE TITLE



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DIVISION/DISTRICT OFFICE



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                                        I hereby acknowledge receipt of the following described cash or other item(s),
                                        which was given into my custody by the above named individual.
   AMOUNT or QUANTITY                                DESCRII TION OF ITEM S)                                             PURPOSE (If Applicable)

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WITNESSED BY (S ma i                                                             NA •E AND TITLE    •r Type)

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